Case 15-25657   Doc 1   Filed 07/28/15   Entered 07/28/15 16:15:02   Desc Main
                           Document      Page 1 of 9
Case 15-25657   Doc 1   Filed 07/28/15   Entered 07/28/15 16:15:02   Desc Main
                           Document      Page 2 of 9
Case 15-25657   Doc 1   Filed 07/28/15   Entered 07/28/15 16:15:02   Desc Main
                           Document      Page 3 of 9
Case 15-25657   Doc 1   Filed 07/28/15   Entered 07/28/15 16:15:02   Desc Main
                           Document      Page 4 of 9
Case 15-25657   Doc 1   Filed 07/28/15   Entered 07/28/15 16:15:02   Desc Main
                           Document      Page 5 of 9
Case 15-25657   Doc 1   Filed 07/28/15   Entered 07/28/15 16:15:02   Desc Main
                           Document      Page 6 of 9
Case 15-25657   Doc 1   Filed 07/28/15   Entered 07/28/15 16:15:02   Desc Main
                           Document      Page 7 of 9
Case 15-25657   Doc 1   Filed 07/28/15   Entered 07/28/15 16:15:02   Desc Main
                           Document      Page 8 of 9
Case 15-25657   Doc 1   Filed 07/28/15   Entered 07/28/15 16:15:02   Desc Main
                           Document      Page 9 of 9
